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          quinn emanuel trial lawyers | los angeles
          865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543 | TEL (213) 443-3000 FAX (213) 443-3100




    August 7, 2024


    VIA ECF
    Hon. Margo K. Brodie
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201


    Re:     In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
            05-md-1720 (MKB) (JAM)
            Intuit, Inc., et al. v. Visa Inc., et al., 21-cv-1175 (MKB) (JAM)
            Block, Inc. v. Visa Inc. et al., 23-cv-5377 (MKB) (JAM)

    Dear Chief Judge Brodie:

            We write on behalf of Plaintiffs Intuit and Square in response to Defendants’ August 2,
    2024 letter (ECF 9374) (“Letter”) request for a pre-motion conference in connection with their
    contemplated Motion for Injunction Compelling Dismissal of Released Claims and for an Interim
    Stay (“Motion for Injunction”). See also ECF No. 9370-1 (Defs.’ Mem. in Supp. of Mot. for
    Injunction). For multiple reasons, the Motion for Injunction is improper and futile.

            First, Defendants’ proposed Motion is an untimely and improper motion for
    reconsideration. Defendants’ previous Motion to Enforce Settlement Agreement or, in the
    Alternative, for Summary Judgment (ECF 9056), asked the Court to dismiss the PayFac portion
    of Intuit’s and Square’s claims, on the basis that the Settlement Agreement supposedly released
    those claims due to Intuit’s and Square’s role as “agents” for their submerchants. ECF 9057. In the
    proposed Motion, Defendants seek the exact same relief—“dismissal of the released claims of
    Square and Intuit based on transactions in which they acted as payment-facilitator agents” based
    on the exact same Settlement Agreement. ECF 9370-1, at 1.

            Defendants concede they previously sought this same relief based on the same purported
    authority. E.g., Letter at 2 (noting that proposed Motion again seeks “dismissal of [Square’s and
    Intuit’s] payment-facilitator claims”). They also acknowledge that the Court denied their prior
    request, while separately holding that Intuit’s and Square’s submerchants were Settlement Class
    members according to the contractual (not antitrust standing) definition of “accepted” in the
    Settlement Agreement. Defendants contend the proposed Motion “raises issues the Court has not
    previously decided.” Letter at 1. But these issues were unquestionably put before the Court, see
    ECF 9308, at 13 n.17, 14 n.18, 29-30, and thus the proposed Motion involves “matters . . . which
    counsel believes the court has overlooked.” Local Civil Rule 6.3. The Motion for Injunction is,


          quinn emanuel urquhart & sullivan, llp
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    therefore, a motion for reconsideration. Meehan v. Brookliv LLC, 2022 WL 523545, at *1
    (E.D.N.Y. Feb. 22, 2022) (denying motion to vacate under reconsideration standard where
    application sought same relief on same grounds as previous motion).

             If Defendants wanted to ask this Court to reconsider its prior decision, they were required
    to file their motion within 14 days of the challenged order. In addition, it is black letter law that a
    motion for reconsideration must identify “an intervening change of controlling law, the availability
    of new evidence, or the need to correct a clear error or prevent manifest injustice.” Kolel Beth
    Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d 99, 104 (2d Cir. 2013).
    Defendants’ proposed motion does not even try to meet this standard. It identifies no change in
    controlling law, new evidence, or manifest injustice. It is also inappropriate because a party
    seeking reconsideration “cannot rely upon facts, issues, or arguments that were previously
    available but not presented to the court,” Hoeffner v. D’Amato, 664 F. Supp. 3d 269, 272 (E.D.N.Y.
    2023), and reconsideration is not “a vehicle for relitigating old issues, presenting the case under
    new theories, securing a rehearing on the merits, or otherwise taking a ‘second bite at the apple.’”
    Dieujuste v. Sin, 2024 WL 2308693, at *1 (E.D.N.Y. May 22, 2024). Defendants’ request to file
    an untimely and improper motion for reconsideration should be denied because the Court has
    already held that the issue of Intuit’s and Square’s antitrust standing is in dispute. If Intuit and
    Square have antitrust standing, which this Court has held a reasonable jury could find, then their
    submerchants had nothing to release and could not relinquish claims that did not belong to them.
    It is futile to brief these issues yet again, given the Court’s previous reasoned decision.

            Second, while now invoking the All-Writs Act (a “new theory” foreclosed by the
    reconsideration standard), Defendants identify no case in which any court employed that Act to
    order a party before it to self-dismiss rather than to affirmatively order dismissal under Rule 12 or
    56. The cases Defendants cite, see Letter at 2 n.2, stand for the general proposition that a party
    required to proceed in a court presiding over a class action may be enjoined from bringing a parallel
    action elsewhere. That proposition offers no support for Defendants’ Motion. Instead, these cases
    support allowing Intuit and Square to proceed. In California v. IntelliGender, LLC, 771 F.3d 1169
    (9th Cir. 2014), the Ninth Circuit enjoined California from bringing a restitution claim that
    duplicated class members’ previously-settled restitution claim, and which California asserted on
    their behalf after having an opportunity to object to the settlement and intervene directly in the
    federal case. The remainder of California’s claims, which were unique to it as an individual
    plaintiff, could proceed. Id. at 1171-72, 1179-82. Here, Intuit’s and Square’s PayFac claims do not
    overlap with submerchants’ claims because the latter are indirect purchasers. Even if Defendants
    ultimately settled federal antitrust claims with parties that do not have antitrust standing,
    IntelliGender means the Court cannot and should not enjoin Intuit and Square from pursuing
    claims for which they have unique standing and rights. 1


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               White v. Nat’l Football League, 822 F. Supp. 1389 (D. Minn. 1993) certified a non-opt-
    out class action and enjoined parallel actions. Id. at 1433-35. Here, the Rule 23(b)(3) Settlement
    Class was opt-out and the Court ruled that Intuit and Square were not Settlement Class members.
    White is thus distinguishable, and illustrates that enjoining Intuit and Square would violate due
    process. In Robertson v. Nat’l Basketball Ass’n, 413 F. Supp. 88 (S.D.N.Y. 1976), the court
    enjoined an action brought in California by a class member who had notice of his right to opt out,



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            Third, the anticipated Motion is an unsupported, futile Rule 56 motion for summary
    judgment that seeks to force Intuit and Square to self-dismiss their claims by way of an
    “injunction” rather than have the Court grant dismissal. To achieve this outcome, Defendants ask
    the Court to make factual determinations about the scope and nature of the limited agency
    relationships between Intuit or Square and their respective submerchants under New York law,
    even though Intuit’s and Square’s submerchant contracts are governed by California law. In any
    event, both California and New York law are clear that the existence and scope of agency is a
    factual dispute inappropriate for summary judgment. See Herbert Constr. Co. v. Continental Ins.
    Co., 931 F.2d 989, 994 (2d Cir. 1991); Siegelman v. Salimi, 2023 WL 4721212, at *10 (Cal. Ct.
    App. July 25, 2023). Moreover, agency relationships are limited in scope to the purposes intended
    by the principal and agent, and defined by control and authority. United States v. Meregildo, 920
    F. Supp. 2d 434, 443-44 (S.D.N.Y. 2013). Defendants’ agency argument is predicated on the
    notion that Settlement Class members, as principals, had authority to bind agents with respect to
    the payment of card acceptance fees. Defendants never explain how or why Intuit’s or Square’s
    submerchants had such authority. Nor have Defendants ever argued that the limited agency
    relationship between Intuit or Square and their submerchants makes submerchants direct
    purchasers under federal antitrust law. See generally ECF 9057, 9370.2 Since the submerchants
    were not direct purchasers on PayFac transactions, the only basis on which they could release
    Intuit’s or Square’s PayFac claims is if they were both Settlement Class Members and had
    authority to do so.

            This is important because, under the New York law governing the Settlement Agreement,
    “a contract cannot bind a non-party unless the contract was signed by the party’s agent, the contract
    was assigned to the party, or the signatory is in fact the ‘alter ego’ of the party.” See Malmsteen v.
    Univ. Music Grp., Inc., 940 F. Supp. 2d 123, 135 (S.D.N.Y. 2013) (citation omitted). Defendants
    have never argued or provided any record evidence to prove that Intuit’s or Square’s submerchants
    were their PayFac’s agent or had actual, apparent, or implied authority to bind their PayFac to the
    Settlement Agreement’s release. Nor have Defendants argued Intuit or Square assigned their
    antitrust claims to their submerchants, or that a submerchant is its PayFac’s alter ego. This means
    Defendants have not provided evidence that submerchants had any ability to bind non-parties Intuit
    or Square to the Settlement Agreement. That the contract in question is a settlement agreement
    does not change this analysis. See Davis v. Blige, 505 F.3d 90, 102-03 (2d Cir. 2007) (“Settlement
    agreements are not to be used as a device by which A and B, the parties to the decree, can (just
    because a judge is willing to give the parties’ deal a judicial imprimatur) take away the legal rights
    of C, a nonparty.”) (cleaned up); In re Am. Exp. Fin. Advisors Secs. Litig., 672 F.3d 113, 135 (2d
    Cir. 2011) (“It is elementary that a settlement agreement cannot release claims that the parties were
    not authorized to release.”).




    but did not do so. Id. at 90-91. Even if the Court had not held (as it did) that Intuit and Square were
    never Settlement Class members, both opted out of the Settlement Class.
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               Although the Court held there was a genuine dispute about whether submerchants or
    PayFac are direct purchasers, see ECF 9308 at 29-30, Defendants never made that argument,
    instead contending that only acquiring banks are direct purchasers. ECF 9100 at 20.


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                                                  Respectfully submitted,

                                                   /s/ Adam B. Wolfson
                                                  Adam B. Wolfson
                                                  Counsel for Plaintiffs Intuit Inc. and
                                                  Intuit Payment Solutions, LLC


                                                   /s/ Steig D. Olson
                                                  Steig D. Olson
                                                  Counsel for Plaintiff Block, Inc.,
                                                  f/k/a/ Square, Inc.




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